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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
                       vs.                    )       Case No. 06-cr-40057-MJR
                                              )
MICKOLENA BOZARTH, et al.,                    )
                                              )
                       Defendant.             )

                          MEMORANDUM AND ORDER
                   ADOPTING REPORT & RECOMMENDATION AND
                   ACCEPTING DEFENDANT ERBY’S GUILTY PLEA


REAGAN, District Judge:

               On June 22, 2007, the parties appeared before the Honorable Clifford J. Proud,

United States Magistrate Judge of this District Court. Pursuant to Federal Rule of Criminal

Procedure 11 and Southern District of Illinois Local Rule 72.1(b)(2), with the consent of all parties

and following a thorough colloquy, Defendant Erby entered a guilty plea to Count 1 of the

Superseding Indictment (Doc. 26).

               By Report filed June 22, 2007, Judge Proud recommends that the undersigned District

Judge accept Defendant Erby’s guilty plea, find Defendant Erby guilty, direct the Probation Office

to prepare a presentence investigation report, and schedule sentencing herein (Doc. 225). The

parties were given an opportunity to object to Judge Proud’s Report. That deadline has elapsed

without any party filing objections.

               Accordingly, the Court ADOPTS in its entirety Judge Proud’s Report and

Recommendation (Doc. 225), ACCEPTS Defendant Erby’s guilty plea, and ADJUDGES Erby


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guilty of Count 1 of the Superseding Indictment (Doc. 26). The Court DIRECTS the United States

Probation Office to prepare a presentence investigation report. Finally, SENTENCING remains

set for September 21, 2007 at 1:30 PM.



              IT IS SO ORDERED.

              DATED this 12th day of July, 2007.

                                                         s/Michael J. Reagan
                                                         MICHAEL J. REAGAN
                                                         United States District Judge




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